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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                    CASE NO. 8:03-CR-171-T-17-EAJ


ROMAINE JEROME COFFIE
                                           /
                                               ORDER

       This cause comes before the Court on the defendant’s motion for modification of
sentence, the requested modification was based on the retroactive application of revised cocaine
base sentencing guidelines (Docket No. 107). The Court appointed counsel in this case and
required responses from the United States Probation Office, the government, and the defendant,
through his appointed counsel. The Court has received and reviewed the responses (Docket Nos.
118, 119 and 120 and Probation’s Amended Retroactive Crack Cocaine Amendment Eligibility
Assessment). The government and probation concur that the defendant is not eligible for a
reduction in sentence based on the amended guidelines, as the defendant was sentenced as a
career offender. The defendant otherwise argues. The Court agrees with the position of the
government and the probation office. Accordingly, it is.
       ORDERED that defendant’s motion for modification of sentence, the requested
modification was based on the retroactive application of revised cocaine base sentencing
guidelines (Docket No. 107) be denied.
       DONE AND ORDERED in Chambers in Tampa, Florida this 3rd day of May, 2012.




Copies furnished to: All Counsel of Record
